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   1 February 2007

   Clerk of the Court
   United States District Court
   District of Colorado

   Re:    Carranza-Reyes v. Park County, et al
          Case No. 2005-WM-377 (BNB)

   Dear Clerk:

          Please see attached documents, Exhibits 1-5 for Plaintiff’s Response to Defendants’
   Motion to Exclude Plaintiff’s Expert Witness, Patricia L. Pacey, Ph.D. These exhibits were
   accidentally omitted from the filing of the document. We ask that you please attach them to our
   response.

           We apologize for any trouble this might have caused. Thank you for your time and
   attention to this matter.

   Sincerely,

   s/ Ashley Ronan

   Ashley Ronan
   Legal Assistant

   Attachments
